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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/


  DEFENDANTS’ MOTION IN LIMINE NO. 8 TO EXCLUDE EVIDENCE OF PUNITIVE
         DAMAGES AND INCORPORATED MEMORANDUM OF LAW
            Defendants BuzzFeed, Inc. and Ben Smith respectfully submit this motion in limine to
  exclude all evidence of alleged punitive damages.
                                     PRELIMINARY STATEMENT
            Plaintiffs have stated an intent to introduce evidence at trial purporting to support a claim
  for punitive damages. But both New York and Florida law make it extremely difficult for a
  defamation plaintiff to assert a claim for punitive damages, requiring proof of both actual malice
  as defined by the First Amendment (subjective knowledge of falsity, or serious doubts about the
  truth of the statements at issue), and common-law malice (specific spite or ill-will towards the
  plaintiff in particular). It is clear that Plaintiffs cannot establish either of these requirements
  here, let alone both of them. Any evidence of punitive damages should therefore be excluded as
  irrelevant.
                                               ARGUMENT
            In their Complaint, Plaintiffs announced their intention “to seek leave of court to seek
  punitive damages under Florida Statute § 768.72,” Ex. 1 (Complaint) ¶ 51, and in their prayer for
  relief, Plaintiffs stated that they “reserve the right to seek punitive damages against Defendants
  in accordance with the facts and claims stated herein and established through discovery.” Id.,
  Prayer for Relief ¶ 1.




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           Although Plaintiffs never sought to amend their Complaint following removal to add an
  actual request for punitive damages, they nonetheless seek to introduce evidence at trial in
  support of punitive damages.1 In particular, they have filed a report from damages expert Jeffrey
  Anderson that purports to quantify the “benefit to Buzzfeed” from publishing the article and
  Dossier. Ex. 2 (Anderson Report) at 12-14. They have identified a number of related documents
  as expected or potential trial exhibits,
                                     and also sought additional information about BuzzFeed’s financial
  condition through discovery, which they may seek to use at trial. See, e.g., Ex. 3 (Plaintiffs’ First
  RFP), Request Nos. 5-13, 53, 54; Ex. 4 (Plaintiffs’ Third RFP), Request Nos. 70-81.
           This Court should preclude Plaintiffs from introducing any evidence in support of, and
  from seeking, punitive damages because they are clearly not entitled to such damages in this
  case, meaning that any evidence related to them is irrelevant. See, e.g., Al-Amin v. Smith, 637
  F.3d 1192 (11th Cir. 2011) (affirming grant of motion in limine precluding evidence of punitive
  damages where plaintiff could not satisfy requirements for awarding them).
           Both New York and Florida courts tightly limit the availability of punitive damages in
  defamation cases, regardless of whether the plaintiff is a public figure. In order to recover
  punitive damages, both states require that a plaintiff prove that a defendant acted with both (a)
  actual malice (subjective knowledge of falsity, or serious doubts about the accuracy of the
  information at issue) and (b) “common-law” or “express” malice, which is defined as spite or ill
  will towards the plaintiff. See, e.g., Prozeralik v. Capital Cities Commc’ns, Inc., 82 N.Y.2d 466,
  480 (1993); Hunt v. Liberty Lobby, 720 F.2d 631, 650-51 & n.36 (11th Cir. 1983). The evidence
  in this case, much of it coming from Plaintiffs themselves, all confirms that Plaintiffs cannot
  establish either form of malice, and certainly not both, meaning that any evidence of punitive
  damages is irrelevant.

  1
    Fla. Stat. § 768.72(1), which requires that a plaintiff obtain permission of the court to assert a
  claim for punitive damages, does not apply in federal court. Cohen v. Office Depot, Inc., 184
  F.3d 1292, 1299 (11th Cir. 1999), vacated in part, 204 F.3d 1069 (11th Cir. 2000). A plaintiff
  who wishes to seek punitive damages, however, must still move to amend his Complaint after
  removal to add a request for punitive damages. See, e.g., Johnson v. R.J. Reynolds Tobacco Co.,
  2013 WL 3892991, at *3 (M.D. Fla. July 26, 2013). Had Plaintiffs done so here, Defendants
  could have argued that the punitive damages claim was insufficient and futile on that motion,
  rather than having to do so by motion in limine.



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           The parties have extensively briefed the question of actual malice in connection with
  Defendants’ summary judgment motion, and there is no need to repeat those arguments here.
  What matters is that, because there is no triable issue of actual malice, evidence of punitive
  damages would be irrelevant even if the Court holds on the summary judgment motions that
  Plaintiffs are private figures.
           Likewise, Plaintiffs plainly cannot establish common-law malice. New York and Florida
  law have similarly demanding standards for this. Under New York law, a plaintiff may only
  recover punitive damages if he or she establishes that “the speaker was solely motivated by a
  desire to injure plaintiff,” and that “the animus was ‘the one and only cause for the publication.’”
  Morsette v. “The Final Call”, 309 A.D.2d 249, 255 (N.Y. App. Div. 2003). Florida law requires
  that the plaintiff “show that the ‘primary purpose’ in making an allegedly defamatory statement
  was to ‘injure the plaintiff’ based on a defendant’s ‘ill will, hostility, or evil intention to
  defame.’” Schiller v. Viacom, Inc., 2016 WL 9280239, at *12 (S.D. Fla. Apr. 4, 2016) (Ungaro,
  J.).3 The defendant’s hostility or ill will must be “directed specifically at plaintiff.” Morsette,
  309 A.D.2d at 254-55; see also Hunt, 720 F.2d at 650 (common-law malice “focuses on the
  defendant’s feelings toward the plaintiff”). And it is clear that, unlike actual malice, a plaintiff
  cannot establish common-law malice by proving that the defendant knew the statements at issue
  were false. See, e.g., Prozeralik, 82 N.Y.2d at 479 (holding that “[a]ctual malice … is
  insufficient by itself to justify an award of punitive damages, because that malice focuses on the
  defendant’s state of mind in relation to the truth or falsity of the published information”);


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    Because there is no evidence at all that Defendants acted out of ill will towards Plaintiffs, the
  difference between New York’s “sole motivation” standard and Florida’s “primary motivation”
  standard does not matter here. However, if the Court were to conclude that New York law leads
  to a different result than Florida law, it should apply the law of New York – the place of the
  conduct giving rise of this lawsuit – because punitive damages “are meant to punish
  wrongdoers,” Grupo Televisa, S.A. v. Telemundo Commc’ns Grp. Inc., 485 F.3d 1233, 1242
  (11th Cir. 2007), which means “[t]he State of domicile of plaintiff[s] has no interest in imposing
  punitive damages.” Keene Corp. v. Ins. Co. of N. Am., 597 F. Supp. 934, 938-39 (D.D.C. 1984);
  see, e.g., Krause v. Novartis Pharms. Corp., 926 F. Supp. 2d 1306, 1311 (N.D. Fla. 2013)
  (noting that “courts that have applied the Restatement (Second) Choice of Laws analysis in
  similar circumstances have chosen to apply the punitive damages law of the state in which the
  tortfeasor’s alleged wrongful conduct occurred as having the most significant relationship”); see
  also Restatement (Second) of Choice of Laws § 145 cmt. e (“[W]hen the primary purpose of the
  tort rule involved is to deter or punish misconduct, the place where the conduct occurred has
  peculiar significance.”).

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  Schiller, 2016 WL 9280239, at *12 (holding that “[e]xpress malice ‘differs substantially’ from
  actual malice in that it requires hostility and not just knowledge of falsity of allegedly
  defamatory statements”). Nor does a lack of investigation establish common-law malice.
  Thanasoulis v. Nat’l Ass’n of Specialty Foods Trade, Inc., 226 A.D.2d 227, 229 (N.Y. App. Div.
  1996).
           Plaintiffs never even alleged in their Complaint that Defendants bore them any personal
  hostility or ill will, much less that their publication of the Dossier was solely or even primarily
  motivated by such feelings, and the vague claims they do plead – that Defendants had “actual
  knowledge of the wrongfulness of their conduct” and a generic “conscious disregard or
  indifference to the rights of the Plaintiffs,” Compl. ¶ 51 – do not measure up. See Carroll-
  Brufsky v. E.W. Scripps Co., 2012 WL 1165334, at *2-3 (M.D. Fla. Apr. 9, 2012) (striking
  punitive damages claim for failing to allege that the “defendant acted with malicious intent,” and
  being “bereft of any specific acts on the part of Scripps that would justify a demand for punitive
  damages under Florida law”); see also, e.g., Morsette, 309 A.D.2d at 254 (no common-law
  malice “despite the callous indifference with which defendant doctored random photographs to
  imply criminal conduct”); Crestview Hosp. Corp. v. Coastal Anesthesia, P.A., 203 So. 3d 978,
  983 (Fla. 1st DCA 2016) (“That the Hospital Defendants said knowingly false things about
  Dr. Ederer, or recklessly disregarded his rights, didn’t necessarily mean that they were motivated
  by personal hostility against him.”).
           In fact, Plaintiffs’ own position on summary judgment establishes the lack of common-
  law malice. Plaintiffs themselves claimed that Defendants published the Dossier for reasons that
  have nothing to do with personal animus towards them – that BuzzFeed “considered the effect
  publishing the Dossier would have on its website traffic, the benefits to Buzzfeed being first to
  publish the Dossier, and that they didn’t want to get ‘scooped.’” Dkt. 234-2 (Plaintiffs’
  Opposition to Defendants’ Statement of Undisputed Material Facts in Support of Motion for
  Summary Judgment) ¶ 56. Plaintiffs’ assertion that Defendants had economic or competitive
  motives is fatal to any claim of common-law malice. See, e.g., Schiller, 2016 WL 9280239, at
  *13 (no common-law malice where plaintiff acknowledged “that Defendants acted to maximize
  profits by, at worst, taking creative liberties with Plaintiff’s likeness to entertain customers and
  ‘get butts in the seat’”).




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           Moreover, there is simply no evidence that Defendants had a specific intent to harm
  Plaintiffs, or bore them any ill will. Plaintiffs themselves essentially conceded this too in their
  summary judgment papers, repeatedly emphasizing that Defendants did not even know who they
  were when they received the Dossier. Dkt. 211 (Plaintiffs’ Motion for Partial Summary
  Judgment) at 8; Dkt. 211-1 (Statement of Undisputed Material Facts) ¶¶ 42-43; Dkt. 238-1
  (Reply in Support of Motion for Partial Summary Judgment) at 3-4; see, e.g., Morsette, 309
  A.D.2d at 255 (no common-law malice where evidence indicated “that the editor did not know
  plaintiff, or anything about her, when final approval was given to publish the altered
  photographs”); Collier Cty. Publ’g Co. v. Chapman, 318 So. 2d 492, 495 (Fla. 2d DCA 1975)
  (no common-law malice where “[t]here were no bad feelings between the parties in the instant
  case prior to the incident in question”). And everything Defendants did in publishing the Dossier
  belies any suggestion that they did so for the express and particular purpose of harming
  Plaintiffs. If Defendants really did all of this just because of a secret (and heretofore-
  undiscovered) animus towards a man halfway around the world none of them had ever met, and
  two of his companies they had never heard of, one would not have expected them to spend two
  weeks conducting an international investigation of the Dossier before publication; to hold off on
  publishing the Dossier until CNN reported that it had come to play a role in official activity; to
  publish all 35 pages of the document even though Plaintiffs only appear on the last page; and to
  accompany the Dossier with an article letting readers know that the allegations in the Dossier
  were unverified and contained clear errors.
           There is therefore no basis on which a jury could award punitive damages here, and
  evidence relevant only to that claim should be excluded.
                                                CONCLUSION
           For all these reasons, Defendants request that the Court exclude evidence relevant only to
  punitive damages.


  Dated: October 29, 2018                  Respectfully submitted,

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                                           Adam Lazier
                                           Alison Schary


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                                     CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
  will be served electronically by email on all counsel or parties of record on the service list below
  this 29th day of October, 2018.



                                                  By: /s/ Adam Lazier
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